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January 17, 2018

   
     
 

 
 

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Honorable Denise L. Cote
United States District Court
Southern District of NeW York
500 Pearl Street

New Yorlc, New Yorl< 10007

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Re: SEC v. Alpr`ne Securities Corp., Civil No. l:i7-ev-04l79-DLC-RLE
Dear Judge COte:

Defenclant Alpine Securities Corporation (“Alpine”) submits this letter-motion requesting
leave to file an overlength Memorandurn in Opposition to Plaintiff Securities & Exchange
Commission’s (“SEC”) l\/lotion for Partial Summary Judgment (°‘Motion”). Alpine is requesting
an additiona! fifteen (lS) pages of argument

The additional pages are necessary because of the complicated legal and factual issues
presented in the SEC’s Motion. First, the SEC has put forth and relied upon multiple lengthy
FinCEN and FINRA guidance and publications in support of its Motion. Alpine requires
additional pages to address and analyze the SEC’s guidance and its application, or lack thereof,
in this mattec‘. '

Second, the SEC has submitted over 30 exemplary Suspicious Activity Repoits
(“SARS”). ln order to adequately and fairly respond to a dispositive motion asserting as a matter
of law and undisputed fact that the exemplary SARs are deficient, Alpine requires additional
pages to address the multiple factual and legal issues in each SAR. If these exemplary SARs are
to be used as a measuring stick moving forward, Alpine requests additional pages to fully
address the many factual and legal issues in each SAR.

The SEC does net oppose Alpine’s request herein to seek leave to tile an overlength brief
and Alpine will not oppose the SEC’s request, if any, to later seek leave for an overlength brief
in response.

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Respectfully,
/s/Malanda E Fritz
Maranda E. Fritz
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cc: Counsel of Record (via CM/ECF)
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